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ORIGINAL

   
 

IN THE UNITED STATES DISTRICT COURT.
FOR THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION
UNITED STATES OF AMERICA
Vv. No.

INDICTMENT

LORAGECAR FIGARO (01)

  

CR-115-9

The Grand Jury Charges:
Count One
Conspiracy to Commit Mail Theft
(Violation of 18 U.S.C. § 371)
A. The Conspiracy and its Objects

1. Beginning in or around December 2018 and continuing through in or
around February 2019, in the Fort Worth Division of the Northern District of Texas,
defendant Loragecar Figaro, and others known and unknown, willfully and knowingly
did combine, conspire, confederate, and agree together and with each other to commit an
offense against the United States, that is, to steal mail matter and to possess stolen mail
matter, in violation of 18 U.S.C. § 1708.

2. It was further an object of the conspiracy that Figaro, and others, would

steal credit cards from the U.S. mails, and would use the stolen credit cards for their

personal benefit.

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B. Manner and Means

3. At various times, Figaro, and others known and unknown, applied for
credit cards in the names of other individuals.

4. Figaro, and others known and unknown, caused the credit cards to be
mailed to addresses along a certain U.S. Postal Service mail carrier’s-route.

5. Figaro and the mail carrier agreed that the mail carrier would steal the
credit cards from the mail and provide them to Figaro and others.

6. Figaro and others used the stolen credit cards for their personal benefit.

Cc, Overt Acts

7. In furtherance of the conspiracy and to effect the illegal object thereof, the
following overt acts, among others, were committed in the Northern District of Texas and
elsewhere:

a. On or about December 9, 2018, the coconspirators applied for a credit
card in the name of M_E., account number x7538, and caused the credit
card to be mailed to an address on Walla Avenue in Fort Worth, Texas.

b. On or about December 18, 2018, Figaro used credit card x7538 ata
Kroger store in Mansfield, Texas, to make a purchase in the amount of
$1,517.85.

c. On or about January 29, 2019, Figaro sent a series of text messages

containing names, addresses and jnstructions to the mail carrier.

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d. At various unknown dates and times, Figaro sent instructions to the
mail carrier to steal specific pieces of mail containing credit cards.

e. At various unknown dates and times, the mail carrier stole credit cards
and delivered them to Figaro and others.

In violation of 18 U.S.C. § 371 (18 U.S.C, § 1708).

A TRUE BILL.

 

Nblln ——

ERIN NEALY COX
UNITED STATES ATTORNEY

   

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
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THE UNITED STATES OF AMERICA
Vv.

LORAGECAR FIGARO (01)

 

INDICTMENT

18 U.S.C. § 371 (U.S.C. § 1708)
Conspiracy to Commit Mail Theft
] Count

 

A true bill rendered

 

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FORT WORTH

 

Filed in open court this 17th day of April, 2019.

 

 

  

LA ew
UNITED SRATES MAGISTRATE JUDGE
Magistr ourt Number: 4:19-MJ-183-BJ
